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COM)ITIONAL TRANSFER 0RDER (CT0-19 la 5_?005
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On February 16, 2005, the Panel transferred 138 civil actions to'the United States Dis?fi§ht

suant to .S.C.
§ 1407. Since that time, 832 additional actions have been transferred to the Eastern District of

Louisiana. With the |bonspnt of that court, all such actions have been assigned to the Honorable Eldon E.
Fallon. i '

l l
lt appears that the actions on this conditional transfer order involve questions of fact Which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199
F.R.D_ 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to thetEastern District
of Louisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.Zd l3"52 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk
ofthe Panel within this fifteen (15) day period, the stay will be continued until further order ofthe Panel.

 

--e Foa THE PANEL; ¢_ _e `
l … 0 » IBJL\'_A l
` Michael J.lBeck `

Clerk of the Panel

 

 

 

 

inasmuch as no objection is CLERK'S OFF|CE

pending at this time, the

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SCHEI)ULE CT()-19 - TAG-ALONG ACTIONS

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ALN 2 05-876 , Joslyn Brown, etc. v. Mercl-t & Co., lnC.
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CAC 2 05-3853 lake E. Baker, et al. v. Mercl< & Co., lnc.

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CAC 2 05-3975 Tony Ortega, et al. v. Merck & Co,, Inc.

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Sarah Roberts v. Merck & Co., Inc.
Russell Robinson, et a1. v. Merck & Co., Inc.
Margaret Varsho, et al. v. Merck & Co.1 Inc.
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Sam Rich, et a1. v. Merck & Co., Inc. _
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Judith L. Ward, et al. v. Merck & Co., Inc.

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A1bina J. Leonetti v. Merck & Co., Inc.

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INVOLVED C()UNSEL LIST (CT()-l9)

DOCKET NO. 1657

IN RE VIOXX PRODUCTS LIABILITY LITIGATION

Jef`f Steven Abers

Fazio, Dawson, DisaIvo, Cannq)n, et al.

633 S. A.ndrcws Avenue, Suite'500
P.O.B0x14519
FOI‘[ Laltd€l‘da1€, FL 33301

Kev`m 1. Aclrian

Bmwn & Jam€s

1010 Markct Street, 2001 F100r
81 Louis__ MO 63101

F. Wendcll A11er1

Bradley Arant Rose & White
1’ O. Box 830709
Blrming,ham, AL 35283 -071)9*

lames 'I`_ A1115011 1

Law OfEces Of James T. A11150111
100 Nonh Main Bldg., Suite 2309
Mcmphis, TN 38103

Susan B. Altman

Reed Sm:'th LLP

Professional Corporation

Two Embarcadem CenteL Suite 2000
San Francisco, CA 94120~7936

Pelcr G. Angclos

Law Off';ccs of Peter G. Angelos
One Charles Center

100 North Charles StTeeL, 22nd F100r
Baltimore, MD 21201

Bryan F. Aylstock

Aylstock, W`Ltkin & Sasser, P.L.C.
P.O. Box 1 147

Gul_f Breeze, FL"32562-1 147

Lec B. Balefsky
K]ine & Specter
1525 hocust Street, 19th Floor 1
Philade!phia, PA 19102 1

Dan H. Ball

Bryan Cave, L.L.P.

One Merropolitan Square

211 N. Broadway, Sui€e 3600
St. Lc)uis, MO 63102-2750

Denise Barton

Morris, Pickering & Petcrscm
900 Bank ofAmerica Plaza

Las Vegas, NV 89101 1

Denise Barlon

Morris, Pickering & Peterson
900 Bank ofArnerica Pfaz.a
Las Vegas, NV 89101

Sidney F. Beck, Jr.

Beck Law Finn, PC

P. O. Drawer 1310

Olive Branch, MS 38654-0310

Michael M. Bcrger

Lobl & Berger Law Oft`lces
18455 Burbank Blvd., Suite 308
Tarzana, CA 91356

Steven J. Boranian

Reed Smith, LLP

TWO Embarcadero Cemer, Suite 2000
P.O. Box 7936

San Francisco, CA 94111

Margaret M. Branch

Branch Law F1'm1

2025 Rio Grande Boulevard, N.W.
Albuquerque, NM 87104

chfrey Marc Braxton

Femzmdo L. Roig & Assc)ciates
312 S.E., 17111 Street

Secor:cl Floor

Fol't Lauderdale, FL 33316

Eugene W. Brees, 11

Whitehursz, Harkness, Watson, London, et al.

P.O. Box 1802

_¥Austin, TX 78767

Joth”. Briggs

Matthews & Stee]

3575 Piedmom Road, NE

15 Piedmont Center, Suite 1560
ALlanta, GA 30305

Roben C. Brock

Rushton, Stakely, Johnston & Ga:'rett
1 84 Commerce Street

Monlgomery, AL 26101-0270

Robert C. Brock
P.O. Box 270
Montgomery, AL 36101-0270

Michael K. Brc)wn

Reed Smith, LhP

355 South Grand Avenue, Suite 2900
Los Angeles, CA 900'71-1514

Rc)bert A. Bunda
Bunda, Stu1z1& DeWilt
One Seagate S111te 650
Toledo, OH 43604

Alyson L. Bustahante

Butler, Snow, Q'mara, Stevens
& Cannada, PLLC

6075 Poplar ijr_e., Suite 500
Memphis, TN 3`8119

Elizabeth J. Cabraser

Lieff, Cabraser, Heimann & Bemstein,
LLP

Embarcadero Center West

275 Bartery Street, 30111 Floor

San Francisco, CA 94111-3339

David J. Capulo

Kline & Specter

1525 Locust Str§:et, 19th F100r
Philadelphia, PA* 19102

Andrew J. Carboy

Sullivan, Papain, Block, McGrath
& Ca:mavo

120 Broadway, 181h FEoor

New York, NY 10271

Andrew R. Carr, Jr.

Bateman, Gibson & Ch:`Iders
Cotton Exchange Building

65 Union Avenue, Suite 1010
Memphis, TN 38103

JOSeph Catalanol, M.D
720 Hospital Drive
She]byvillc, KY 40065

Jeffrey W. Chambers

Ware, Jackson, Lee & Chambers, LI,C
America Tc)wer, 42nd Floor

2929 Allen Parkway

Houslon, TX 77019

Gary Yunchian then

Reec! Smith, LLP

355 South Grand Avenue, Suite 2900
Los Angeles, CA 90071

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Louis P. Chiozza Jr.

Chiozza &: Associates

230 Adams Ave.

Memphis, TN 38103 1

Dawn M. Chmie1ewski

Climaco, Leikowitz, Peca Wi]cox
& Garol"oli 1
1228 Euc11c1 Avenue, Suite 900
Cleveland, OH 44115

wanda 1»1.1:1311<0\~51<1 1
11alleland, Lew1s, Nilan, Sipkins
& Jolman

220 South 61h Stre€t, Suite 600
Minneapoiis, MN 55402

101111 R. C11mac0

Climaco, Lefkowitz, Peca Wilcox
& Garofc)li

1228 Euclid Avenue, Suite 900
Cleveland, OH 44115-1891

D. Jeffrey Coale
P.O. Box 2572
Abingdon, VA 24212

Dc)uglas Cohen

Joncs, Vargas

3773 Howard Hughes Pax'kway
3rd Floor South

Las Vegas, NV 89109 1
S. Tessie Cc)rbin

Dechert LLP

1717 Arch Slreet

4000 BCH Atlantic Tower
Philadelphia, PA 19103-2793

Daniel F. Crowley
Daniel Crowlcy & Associates 454

37 O]d Courthouse Square,"Suite 200

Santa Rosa, CA 95404

' 1
William C. Cunning,ham 1 ‘
P.O. Box 624
Commbus, MS 39703 1 1

D_ 1`rank Davis

Davis & Norris, LLP

One H`zghland Place, Suite 100
2151 Highland Avenue
Binningham, AL 35205

Mark A. DiCello

Law O{f`lce 01 Robert J. Dicello
75 56 Mentor Avenue

Memor, OH 44060 1

Nicholas A. D1Ce110

Spangenberg, Shi|:)lcy & Liber, LLP
2400 National City Cemcr

1900 East 91}1 Su'eet

Cleveland, OH 441 14

David A_ Dick
Thomspson Coburn, LLP
One US Bank Piaza

St Louis, MO 63101

W1111am Dinkes
Dinkes & Morrelli
112 Madison Avenue
New York, NY 10016

Jel`frey Keith Doug|as

Morris, Manning & Manin, LLP
1600 Atlanta Financial Cemer
3343 Peachtree Ruad. N.E.
Allanta, GA 30326-4160

John J. Driscoll

Brown & Crouppen

720 Olive Street, Suile 1800
St. Louis, MO 63101-2302

Tony W. Edwal'ds
Stipe Law Firm

P.O. Box 1369
McAlester, OK 74502

Donald .1. Feinberg

Feinberg & Silva

2000 Mark€l Street, Suite 1805
Philadelphia, PA 19103

Dennis Lynd F1em1`ng
2189 East Main Street
Stock¥on, CA 95205

Francis J. Flynn

Jef`frey J. Luwe, P.C.

8235 Forsyth Boulevard, Suite 1100
St. Louis, MO 63105

Anthony Gallucci

Kelley & Ferraro, LLP

1300 East Ninth Street, Suite 1901
Cleveland, OI-l 44114

Hem'y G. Garrard, 111

Blasingame, Burch, Garrard, Bq’ant
& Ashley

440 Collegc Avcnue Norlh

P.O. Box 832

Athens, GA 30603

W. Lc.wis Garrison, 11.

Gam`son, Scott, Gamble & Roscmhal, PC
P.O.B0x11310

2224 151 Avcnue Nox'th

Birmingham, A135202

Scott A. George

Sheller, Ludwig & Badey

One Greemree Centre, Suite 201
Rte 73 & Greentree Road
Marlton,N108053

\
Ronald S. G¢ldse`r_
Zimmerman Reed

651 Nicollel Mall, Suite 501
Minneapo1is,MN 55402»4123

Andrew S. GoIdwasser

Ciano & Goidwasser

460 MK Ferguson Plaza

1500 West Third Stree1, Suite 460
Cleveland, 01-1 44113

Alfred L. Greeri, Jr.
Butt, Thormon & Baehr
P.O. Box 3170
Aibuquerque, NM 87190

Richard H. Greener

Greener, Banducci & Shoemaker, P_A.
815 West Washington Street

Boise, ID 83702

Sleven Guinn

Laxall & Nomura, Ltd.
9600 Gatewat Drive
Reno, N\/ 89521

Kevin Michael Hara

Reed Smith, LLP

1999 Harrison Street, Suite 2400
Oaklam_i_,§A 94612~3572

Char]es C. HarreIl
Butler, Snow, 0'111313, Slevens
& Cannada, PLLC
6075 Poplar Ave., Suite 500
M€mphis, `1`1\'3811_9
.1
Stanley N. Harris l
Modrall, Sperling, Roehl, Harris & Sisk
P.O. Box 2168

Albuquerque, NM 87103

Stephanie J. Hartley

Spohrer, Wilner, Maxwell & Matthews, PA
701 West Adams Street, Suite 2
Jacksonvilie, FL 32204

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Vi1ia B. Hayes

1'1ughes, Hubbard & Reed, LLP
One Bartery Park Plaza

I\`ew York, NY 10004

Russ M. Herman

Herman_. Herman, Katz & Cot.far L.L.P.

820 O'Keefe Avenue 1
New Orleans, LA 701 13

T. Robert 1-1111

11111 Boren

1269 Norlh Highland Avenuc
P.O. Box 3539

lackson, TN 38303-0539

Timothy C. Holm

MOdra]l, Sperling, Roehl, Harris & Sisk
P.O. Box 2168

Albuquerque, NM 87103

Jef`f`rey A. Holmsrrand 1
McDemmtt & Bonenberger, PL`LC

53 Washington Avenue

Whe<:]ing, WV 26003-0316

Michael K. Houiz

Morgan & Morgan, P.A.

101 E. Kennedy Blvd., Suite 17190
Tampa, FL 33602

Robert K. Jenner

mm & Jenner, LLC 1
1829 Reistertown Road, Suite 320
Baltimore, MD 21208

Andrew B. Johnson l
Bradley, Arant, Rose & White
P.O_ Box 830709
Birmingham, AL 35283~0709

_____-am-

Brian S. Kabaleck

Kabateck, Brown, Kellner

350 S. Grand Avenue, 391h F]oor
LOS Angeles, CA 90071

D. Grant Ka§ser

Kaiser Fil'm, LLP

8441 Gulf Freeway, Suite 600
Houston, TX 77017-5001

Patricia J. Kasputys

Law Off']ces of Peter G. Angelos'
One Charies Cemer

100 North Charles Street, 20111 Floor
Baltimore, MD 21201 f

Joshua Katz

Lanahan & Reil1ey

3558 Round Bam B<)u]evard, Suite 300
Santa Rosa, CA 95403

Darla L. Keen

Lyta1, Reiter, C]ark, Fountain

& Williams, LLP

515 North Flagler Drive, Tenth Flc)or
P.O. Box 4056

West Palm Beach, FL 33402-4056

hines M. Kel1ey, 111

Elk & Elk

61 10 Parkland Bou[evard
Mayf`le1d Heights, OH 44124

Michael V. Kelfey

Keiley & Ferraro_. LLP

1300 East Ninth Street, Suise 1901
Cieveland, OH 44114

Wi!l Kcmp

Harrison, Kemp & lones, Chtd.

3800 Howard Hughes Pkwy_. 17th Floor
Las Vegas, NV 89109

R. Eric Kennedy

Weisman, Kennedy & Berris
1600 Midland Building

101 Prospect Avenue, We51
Cleveland, OH 44115

John A. Kenney

McAfee & Taf'[

Two Leadership Square, 10th Flc)or
211 N. Robinson

Oklahoma City, OK 73102-7101

Rosalie Euna Kim
Reed Smith LLP

I_wo Embarcadero Centér, Suite 2000

San Francisco, CA--94111

Norman C. Kleinberg

Hughes Hubbard & Reed, LLP
One Battery Park Plaza, 12th F100r
New York, NY 10004-1482

David C. Landever
Weisman, Kermedy & Berris
1600 Mldland Building

101 Prospect Avenue West
Cleveland, OH 44115

Keith A. Lange

Lange Law Off`:ces

15 North Detroit Street, Suite 1000
Kenton, OH 43326~1551

G€ra|d S. Leeseberg
Leeseberg & Valemine
Penthouse One

175 South Third SLreet
Columbus, OH 43215

David Levenbe"rg

TW{) Penn Center

1500 JKF B]vd., Suite 200
Phiiadelphia, PA 19102

Carlene Rhodes Lewis
Gofonh Lewis Sanford, 151.1)
111 1 Bagby, Suite 2200
Houston, TX 77002

Kenneth W. Lewis

Bush, I-ewis & Roebuck, P.C.
1240 Orleans Street
Beaumont, TX 77701

Phyms Lil@-K§ng 1
Donaldson & Blacl<, P.A.
208 West Wendover Avenue
Greensboro, NC 27401

.1. Franklin Long
727 Bland Streel
Bluef'ield, WV 24701

Charles V. L011g0
25550 Chagrin Blvd,, Suite 320
Beechwood, 01144122

Jeffrey J. Lowe

leffrey .l. Lowe, PC

8235 Forsy\th Bqule\’ard, Suice 1100
St. Louis, MO 63105

Patricia E. Lowry

`_ Steel, 11ecror & Davis, P.A.

1900 Phillips Point West
777 S. Flag1er Drive
West Palm Beach, FL 33401-6198

James J. McHugh
Beasley Firm, LLC
1125 Walnut _Street
Phiiadelphia, PA 19107

David M. McMu]lan, Jr.
Barrett Law Off`\ce, P.A‘
404 Court Squarc NOl'th
P.O. Box 987

Lexington, MS 39095-0987

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David Meany

Whi:c, Meany & WetheraH, LLP
3185 Lakeside Drive 1
Reno, NV 89509-4503

Howard F. Messer

Howard Messer 82 Associates 1
310 Grant Street l
Suite 530, Grant Bu:`lding
Pittsburgh, PA 15219-2301

Winston E. MiIler

Frost, Brown 82 Todd, 1,.1,.C.

400 West Market Street, 32rld 1~`1001'
Louisvilhz, KY 40202

Charlcs R. Mincilin
Fenstersheib & Blake

520 W. Hallandalc Beach Blv$j.
Hauandale, FL 33009-53071 1

Nancy A. Mismash 1 1
Mismash & McDonough 1 1 1
136 S. Main, Suite 404

Sa1tl.a1<e City1 UT 84107

Patricia L. Mitchell

Shawn, Khorrami Law Offlces
14550 Haynes Street, 3rd F100r
Van Nuys, CA 91411

1011111. Murray

Murray 182 Murray

111 East Shoreline Drive
P.O_ 130)< 19

Sandusky, OH 44871

Stcv::n G. Ohrvall

Hill Boren

P.O. Box 3539

1269 Norlh Higland Ave.
lackson, TN 38033-3539
Ann B. Oldfather
O1dfather 82 Morris

1330 South Third Street
Louisville, KY 40208

Thomas A. Out1er

Rodey, Dicl<ason, Sloan, Akin <82 Robb
P.O. Box 1888

Albuquerque, NM 87103-1888

Robb W. Patryk

Hughes Hubbard & Reed, LLP
One Battery Park Plaza

New York, NY 10004

Jamcs M. Patton

Paiton & Veigas PC

1200 20111 Street, South, Suite 200
Birm`mgham, AL 32205

Alan 1~1. Perer

Swensen, Pcrer, lohnson, el a1.
Two O1iver Plaza, Suite 2710
Pittsburgh, PA 15222

1\/1. Norwood Phillips

Shackleford, Phillips, Wineland & el al.
P.O. Box 1718

El Dorado, AR 71730-1718

Kristina Pickering

Morris, Pickering ¢82 Peterson
900 Bank ofAmerica Plaza
Las chas, NV 89101

Robert E. Piper, Jr.
Piper & Associates
624 Pierre Avenuc
P.O. Box 69
Shreveport, LA 71161

Susan J. Pope

Frost, Brown & Todd, L.L.C.
250 W_ Main Street

2700 Lexington Financial Cemer
Lexingion, KY 40507-1749

Carols A. Prietto, 111

Robinson Calcagnic 82 Robinson
620 Newport Center Drive, 7111 Floor
Newport Beach, CA 92660

D. Brian Rattliff

Bubalo 182 Hiestand, PLC

401 S. Fourth Street, Suite 800
Brown & Williamson Tower
Louisvi]le, KY 40202 ._,_ *'

Dermjs C. Reich

Reich & Binstock, LLP
4265 San _FeIipe-, Suite 1000
110ust0n, TX 77027

Rick L. Rose

Ray, Quinney 82 Nebeker

36 S. State Street, Suite 1400
P.O. Box 45385

Sa!t Lake Cily, UT 84145-0385

Rc)bert W. Rowan

Gollatz, Griff`m 182 Ewing,, PC
I-`our Penn Cenler

1600 JFK B]vd., Suite 200
Philadelphia, PA 19103

loshua G. Schiller

Dechcrt LLP

4000 BeII At]antic To\~‘er
1717 Arch Streel
Philadelphia, PA 19103-2793

Richard D. Schulcr

Schuler1 1'1a1v0r50n 82 Weisser, P.A.
1615 Forum Place

Suitc 413 Barristers Bui]ding

West Palm Beach, FL 33401-2317

Chad Schulze 1

Milavetz Ga110p1& Milavetz
6500 France Avenuc, 50th
Edina, MN 55435

Darrell Scott 1

Scott Law Grou

926 W. Sprague Avenue, Suite 583
Spokane, WA 99201

Rebecca C. Sechrisl
Buncla, Srutz 182 De?Witt
One Seagale, Suite|650
T<)Eedo, OH 43604

Christopher A‘ Seeger
Seeger Weiss, l.I_P
550 Broaci Street
Newark, NJ 0710\`2

Anne M. Se:`bel

Bradley Arant Rose & White
One Federa1 Place

1819 5111 Avenue North

P.O. Box 830709
Binningham, AL 35283»0709

Roman A. Shaul

Beasley, A11en, CJOW, Nlelhvin, Pom`s
& Miles, PC

272 Commerce Strect *"

P.O. Box 4160

Montgomery, AL 36104-4160

James M. Simpsr:1n, Jr.

Friday, Eldredge & C1ark

Firsl Commercial Bldg,., Sutie 2000
400 West Capitol Avenue

12itt1e Rock, AR 72201~3493

lames Paul Sizemore

Beasley, A11en, Crow, Methvin, Portis
82 Miles, PC

P.O. Box 4160

Momgomery, AL 36103-4160

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lonathzm B. Skidmore
Fulbright 82 laworski

Texas Commerce Bank Tower
2200 Ross Avenue, Suite 2800 1
Dal1as, TX 75201-2784

Dori K. Stibolt

Steel Hector 82 Davis 1
1900 Phillips Poim W.

777 S. Flagler Drive

West Palm Beach, FL 33401-6198

Slephen G. Strauss 1 1
Bryan Cave, L.L.P. 1
One Metropolitan Square

211 N. Broadway, Suile 3600
St. Louis, MO 63102-2750

David Tao, M.D.
3006 Old Shepherdsviu@ Rd1
LOuiSviHe, KY 40202

Robert Martin Tala
1-11mton & Williams
500 F.ast Main Street, Suite 1000
Nort'01k, VA 23510

Victoria Dizik Teremenko 1
Kenneth B. Moll 82 Assr)ciates

Three First National Plaza, 50111 F100r
Chicago, IL 60602 j
Scephen R. Thomas l
Moffatt, Thomas, Barrett, Rock

82 Fields

P.O. Box 829

13015€, ID 83701

'1"yler S. Thompson

D01t, Thompson, Shepherd & Kinney
455 S. 4th St'reet

310 Slarks Build§ng

Louisville, KY 40202

Mitchel1A.'10ups 1
Weiler, Green, Toups 82 'I`Sr'rell, LLP
2615 Calder, Sune 400 1
Beaumont, TX 77704 1 1

E. Todd Tracy

Tracy 82 Carboy

5473 Blair Road, Suite 200
Dal1as, TX 75231

Geroge T. Waddoups
Debry 82 Associates

4252 South 700 East

Sa1t Lake City, UT 84107

Erik B. Walkcr

Hissey Kiemz 82 1'1€rron
168001mperial‘\/a11ey Dn've, Suite 130
Houston, 'I`X 77060

Seth S. Webb

Brown 81 Crouppen

720 Olive Street, Suite 1800
St. 1501:15, MO 63101

Michac11'\/1. Weinkowitz

levin, Fishbein, Sedran 82 Berman
510 Walmlt Sfreel, Suite 500
Philadelphia, PA 19106

lames E. Whaley

Brown 82 James

1010 Markec Street, 20th Floor
St 126111$, MO 63101

1. W'hite

White, Meany 82 WetheraH, LLP
3185 Lakeside Drive

Reno, NV 89509-4503

Peter M. Williamson
Williamscm 82 Associates
13915 Panay Way, Suite 1
Marina del Rey, CA 90292

Benjamin C. Wilson

Rushton, Stake1y, Johnston 82 Garrett
P.O. Box 270

Momgomery, AL 36101-0270

Douglas L. Winston

Berg,er 82 Zavesky

1425 Rockefeller Building

614 Wesl Superior Avenue
Cleveland, OH 441 13

Phi11ip A. Wirtmann

Stcme, Pigman, Wh]ther 82 Wittmann,
LLC

546 Carondelel St'reet

New Orleans, LA 70130-3588

James L. Wright
Mithoff& Jacks, L.L.P.
Frank]in Plaza

1 1 1 Congress Avenue
Suite 1010

Austin, TX 78701-0001

Gary A. Zucker

Zucker 82 Ba]len

16 Courl Street, Suite 3100
Brooklyn, NY 1 1241

Lee 11. des Bordes, Jr.

‘ 1-1 ank Desbordes

7732 Goodwood Blvd., Suile A
Baton Rouge, LA 70806

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Lisa M. Martin

BUTLER SNOW O'MARA STEVENS 82 CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS 82 CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Louis P. Chiozza

CHIOZZA 82 ASSOCIATES
230 Adams Ave.

1\/1emphis7 TN 38103

Alyson Bustamante

BUTLER SNOW O'MARA STEVENS 82 CANNADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Brian F. Aylstock

Aylstock, Witkin 82 Sasser
P.O.Box 1147

Gult`BreeZe7 FL 32562--114

.1 ames T. Allison

LAW OFFICE OF JA1\/1ES T. ALLISON
100 North Main Bldg.

Ste. 2309

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

